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                              EXHIBIT C




11240624.1
                   Case 8:23-cv-00889-TDC Document 28-8 Filed 11/06/23 Page 2 of 3
                                 Wyoming Secretary of State
                                                                                                               ----------------------~
                      ~           Herschler Building East, Suite 101
                                          122 W 25 th Street
                                    Cheyenne, WY 82002-0020                            WY Secretary of State
                                         Ph. 307.777.7311                              FILED: 10/06/2022 02:49 PM
                                     Email: Business@wyo.gov                           Original ID: 2022-001078733
                                                                            t.=--~~~~~-~rneodmeot ID· 2022-003&&2322


                                              Limited Liability Company
                                                Articles of Dissolution

1. The name of the limited liability company is:
   (Name must match exactly to the Secretary of State's records)
   rtterSec LLC

2. Certification. (Please check the box to complete the required certification.)

I ✓   I I hereby certify that I am in compliance with W.S. 17-29-701, and I have met all requirements for dissolution
and winding up as required in the Limited Liability Company Act. I further certify that I have the authority to
complete the dissolution of this business entity. The limited liability company is now dissolved.




Signature:                                                                             Date: j09/27 /2022
               --------------------
(Sh all be executed by a person authorized by the company.)                                     (mmlddlyyyy)

                                                                             Stacy Fredericks
Print Name: !Robert Chen                                     Contact Person: _     !
Title: !Member                                               Daytime Phone Number: ISO 1 -924 -4131

                                                             Email: 1sfredericks@michaelbest.com

                                                                      (An email address is required. Email(s) provided will receive
                                                                      important reminders, notices and filing evidence.)




 Checklist
  0    Filing Fee: $60.00 Make check or money order payable to Wyoming Secretary of State.
  m The business entity is active and in good standing with this office.
  CZ] Processing time is up to 15 business days following the date of receipt in our office.
  CZ] Please mail with payment to the address at the top of this form. This form cannot be accepted via email.
  CZ] Please review the form prior to submission. The Secretary of State's Office is unable to process incomplete forms.




LLC-ArticlesDissolution - Revised June 2021
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                                       STATE OF WYOMING
                                  Office of the Secretary of State


       I, KARL ALLRED, Secretary of State of the State of Wyoming, do hereby certify that the filing
requirements for the issuance of this certificate have been fulfilled.


                                   CERTIFICATE OF DISSOLUTION

                                            OtterSec LLC


        I have affixed hereto the Great Seal of the State of Wyoming and duly executed this official
certificate at Cheyenne, Wyoming on this 6th day of October, 2022




                                                             Secretary of State


                                              By:- - - - -Cici Mohren
                                                          ---------

         Filed Date: 10/06/2022
